                       Case 2:17-cv-04059-MCS-JEM Document 482-2 Filed 07/11/22 Page 1 of 3 Page ID
                                                       #:11823



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                                Railroad Company
                              7
                              8
                              9                             UNITED STATES DISTRICT COURT
                           10                              CENTRAL DISTRICT OF CALIFORNIA
                           11 GEORGE TORRES, an individual; and                   Case No. 2:17-cv-04059-MCS-JEM
                              ROBERTA TORRES, an individual,
                           12                                                     DECLARTION OF SARAH P. BELL
                                       Plaintiff,                                 IN SUPPORT OF MOTION FOR
                           13                                                     DETERMINATION OF GOOD
                                  vs.                                             FAITH SETTLEMENT
                           14
                              HAROLD IGDALOFF, et al.,                            The Hon. Mark C. Scarsi
                           15
                                       Defendants.                                Action file:     May 31, 2017
                           16                                                     Trial Date:      September 6, 2022
                              UNION PACIFIC RAILROAD
                           17 COMPANY, a Delaware corporation
                                                                                  Hearing Date:    August 8, 2022
                           18     Defendant and Counterclaimant,                  Hearing Time:    9:00 a.m.
                           19 vs.
                           20 GEORGE TORRES, et al.,
                           21              Plaintiffs and Counterdefendants.
                           22 AND RELATED COUNTERCLAIMS
                              AND CROSSCLAIMS
                           23
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   Farella Braun + Martel LLP       DECL. OF SARAH P. BELL IN SUPP. OF MOT.                                  34999\14914204.1
235 Montgomery Street, 17th Floor
 San Francisco, California 94104    FOR DETERMINATION OF GOOD FAITH
         (415) 954-4400
                                    SETTLEMENT - Case No. 2:17-cv-04059-MCS-JEM
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                              1            I, Sarah P. Bell, declare as follows:
                              2            1.     I am an attorney duly admitted to practice before this Court. I am a
                              3 partner with Farella Braun + Martel LLP, attorneys of record for Defendant Union
                              4 Pacific Railroad Company (“Union Pacific”). I have personal knowledge of the
                              5 facts set forth herein. If called as a witness, I could and would competently testify
                              6 to the matters stated herein. I make this declaration in support of Union Pacific’s
                              7 Motion for Determination of Good Faith Settlement.
                              8            2.     The settlement reached between Union Pacific and the Igdaloff Parties
                              9 provides for the payment of $4,900,000 by the Igdaloff Parties to Union Pacific in
                           10 resolution of Union Pacific’s claims against the Igdaloff Parties. The settlement will
                           11 be reflected and confirmed in a Stipulated Judgment pursuant to Federal Rule of
                           12 Civil Procedure 41(a)(2), which will seek this Court’s continuing jurisdiction over
                           13 certain matters reflected in the settlement. The Igdaloff Parties’ payment is to be
                           14 secured by recorded abstracts of judgment creating liens on real property owned by
                           15 the Igdaloff Parties, while Union Pacific will stay and forego enforcement of the
                           16 judgment until after Mr. Igdaloff’s death, along with restrictions and stipulations
                           17 relating to the distribution of proceeds from the sale of certain of the Igdaloff
                           18 Parties’ real properties should the Igdaloff Parties voluntarily sell certain of their
                           19 real properties prior to Mr. Igdaloff’s death. Union Pacific will continue in its role
                           20 as the sole party responding to the Imminent and Substantial Endangerment Order
                           21 and as the sole party paying to investigate and remediate the Site. Each party shall
                           22 be responsible for their own attorneys’ fees and costs incurred in connection with
                           23 the action.
                           24              3.     Union Pacific does not anticipate any opposition to this Motion as this
                           25 Court has already found that Union Pacific’s settlements with the remaining parties
                           26 to have appeared in this action were made in good faith and dismissed all claims
                           27 against such parties. ECF Nos. 403, 455, 467. While Mr. Igdaloff is not
                           28 represented by counsel in the present action, I have been advised by counsel who
   Farella Braun + Martel LLP       DECL. OF SARAH P. BELL IN SUPP. OF MOT.                                     34999\14914204.1
235 Montgomery Street, 17th Floor
 San Francisco, California 94104    FOR DETERMINATION OF GOOD FAITH
         (415) 954-4400
                                    SETTLEMENT - Case No. 2:17-cv-04059-MCS-JEM
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                                                       #:11825



                              1 have specially appeared for Mr. Igdaloff in this action that the Igdaloff Parties
                              2 support this Motion.
                              3           4.    Attached as Exhibit 1 is a true and correct copy of the July 30, 1980
                              4 Commercial Lease between Southern Pacific and Harold Igdaloff and Evelyn
                              5 Igdaloff, produced by Union Pacific in discovery in this action.
                              6           5.    Attached as Exhibit 2 is a true and correct copy of an Individual Grant
                              7 Deed between Herman and Carole Rosen (grantors) and Harold and Evelyn Igdaloff
                              8 (grantees) dated March 31, 1980, produced by George Torres in this action.
                              9           6.    At mediation, both Union Pacific and the Igdaloff Parties were
                           10 represented by experienced counsel in negotiations conducted with Mr. Gallagher.
                           11 This settlement is the product of arms’ length negotiations among experienced
                           12 counsel, under the direction of an experienced mediator, and in an adversarial
                           13 setting.
                           14             I declare under penalty of perjury under the laws of the United States of
                           15 America that the foregoing is true and correct.
                           16             Executed on this 11th day of July, 2022, at San Francisco, California.
                           17
                           18                                                 /s/ Sarah P. Bell
                                                                              Sarah P. Bell
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   Farella Braun + Martel LLP
235 Montgomery Street, 17th Floor
                                    MPA ISO MOTION FOR DETERMINATION OF      2
 San Francisco, California 94104    GOOD FAITH SETTLEMENT -
         (415) 954-4400
                                    Case No. 2:17-cv-04059-MCS-JEM
